   Case 1:05-cr-00267-CG-B             Doc# 548        Filed 10/16/09        Page 1 of 2       PageID# 2731
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                                   (8488)


                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                         V.                               (For Revocation of Supervised Release)
        JAMES LAVON TUNSTALL

                                                          CASE NUMBER: 1:05-CR-00267-006
                                                          USM NUMBER: 09447-003

THE DEFENDANT:                                             W. Gregory Hughes, Esquire
                                                          Defendant's Attorney


(X) admitted guilt to violation of supervision conditions: Special Condition, 7,8,9 & Mandatory
Condition as set out in the petition dated 9/15/2009.
()      was found in violation of supervision condition(s):
                                                                                           Date violation
Violation Number                                  Nature of Violation                      Occurred
Special Condition                                 Technical
       7                                          Technical
       8                                          Technical
       9                                          Technical
Mandatory Condition                               New Offense                              8/6/09 (new arrest)

      The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No.: 6566                         Date of Imposition of Judgment

Defendant's Date of Birth: 1975

Defendant's Residence Address:                                /s/ Callie V. S. Granade
Monroeville, AL                                               CHIEF UNITED STATES DISTRICT JUDGE


Defendant's Mailing Address:                                  October 16, 2009
                                                              Date


October 15, 2009
   Case 1:05-cr-00267-CG-B              Doc# 548        Filed 10/16/09       Page 2 of 2      PageID# 2732
                                                                                                  Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
Defendant: JAMES LAVON TUNSTALL
Case Number: 1:05-CR-00267-006
                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-FOUR (24) MONTHS           .


(X) The court makes the following recommendations to the Bureau of Prisons: that the defendant be
imprisoned at an institution where defendant can be evaluated for and receive substance abuse
treatment.




(X) The defendant is remanded to the custody of the United States Marshal.
( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at .m. on .
  ( ) as notified by the United States Marshal.
()      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
  ()      before 2 p.m. on        .
  ()      as notified by the United States Marshal.
  ()      as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:




Defendant delivered on                          to                                     at

with a certified copy of this judgment.
                                                                             UNITED STATES MARSHAL


                                                                       By:
                                                                                       Deputy U.S. Marshal
